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                                UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF TEXAS
                                     MARSHALL DIVISION

DDR HOLDINGS, LLC,                                      §
    Plaintiff,                                          §
                                                        §
vs.                                                     §             CASE NO. 2:06-CV-42-JRG
                                                        §
HOTELS.COM, L.P., et al.,                               §
   Defendants.                                          §



                             MEMORANDUM OPINION AND ORDER



           Before the Court is Defendants’ 1 Motion for Partial Summary Judgment of Non-

Infringement of Claim 8 of the ‘135 Patent. (Dkt. No. 402.) After carefully considering the

parties’ written submissions, the Motion is DENIED.

           I.    BACKGROUND

           On January 31, 2006, DDR brought this suit against various Defendants alleging

infringement of U.S. Patent Nos. 6,629,136 (“the ‘136 patent”), 6,993,572 (“the ‘572 patent”)

and 7,818,399 (“the ‘399 patent”), which relate to e-commerce outsourcing. Relevant to this

motion, DDR alleges that the Defendants infringe claim 8 of the ‘135 patent, which describes an

Internet e-commerce outsourcing system in which an outsource provider acts as an intermediary

between two other parties: a host operating website and a merchant selling products. The

outsource provider serves web pages that include products offered by the merchants and that

automatically mimic the “look and feel” of the host website. In full, claim 8 of the ‘135 patent

recites:


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 The Defendants are Expedia, Inc.; Hotels.com, L.P.; Travelocity.com, L.P.; Site59.com, LLC; International Cruise
& Excursion Gallery, Inc.; OurVacationStore.com, Inc.; and Digital River, Inc. (collectively, the “Defendants”).

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                       An e-commerce outsourcing process providing a host
               website in communication with a visitor computer with context
               sensitive, transparent e-commerce support pages, comprising the
               steps of:
                      a) capturing a look and feel description associated with a
                         host website;
                      b) providing the host website with a link for inclusion
                         within a page on the host website for serving to a visitor
                         computer, wherein the provided link correlates the host
                         website with a selected commerce object; and
                      c) upon receiving an activation of the provided link from
                         the visitor computer, serving to the visitor computer an
                         e-commerce supported page with a look and feel
                         corresponding to the captured look and feel description
                         of the host website associated with the provided link
                         and with content based on the commerce object
                         associated with the provided link.

See ‘135 Patent, Claim 8. DDR contends that the claimed invention improves on the prior art

because a website visitor to the host website can receive the impression that he or she remains at

the host website while shopping for the merchant’s products, even though the web pages are

actually served by the outsource provider. (Dkt. No. 402, at 1.)

       Defendants advance two independent non-infringement positions with regard to claim 8

of the ‘135 patent. First, Defendants contend that according to DDR’s infringement theory, a

website visitor is the party that performs the capturing step of claim 8. (Dkt. No. 402.)

Defendants believe that, under this theory, there can be no direct infringer as a matter of law

because the Defendants perform some steps of claim 8, while the website visitor performs the

capturing step. Id. Second, Defendants contend that it is “undisputed that the Defendants’

accused systems perform the steps of claim 8 in a different order than required and directly

contrary to the patent’s teachings.” Id. According to Defendants, there is no dispute that the

“capturing step” (capturing a look and feel description) is not performed before the “serving

step” (serving to the visitor computer an e-commerce page with a look and feel corresponding to


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the captured look and feel description). Id. DDR responds that both of the Defendants’ non-

infringement arguments should be rejected because they involve substantial factual disputes that

can only be resolved by a jury at trial. (Dkt. No. 417.)

       II.     Applicable Law

       Summary judgment should be granted “if the movant shows that there is no genuine

dispute as to any material fact and the movant is entitled to judgment as a matter of law.”

Fed. R. Civ. P. 56(a).    Any evidence must be viewed in the light most favorable to the

nonmovant. See Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 255 (1986) (citing Adickes v.

S.H. Kress & Co., 398 U.S. 144, 158-59 (1970)). Summary judgment is proper when there is no

genuine issue of material fact. Celotex v. Catrett, 477 U.S. 317, 322 (1986). “By its very terms,

this standard provides that the mere existence of some alleged factual dispute between the parties

will not defeat an otherwise properly supported motion for summary judgment; the requirement

is that there be no genuine issue of material fact.”       Anderson, 477 U.S. at 247-48.       The

substantive law identifies the material facts, and disputes over facts that are irrelevant or

unnecessary will not defeat a motion for summary judgment. Id. at 248. A dispute about a

material fact is “genuine” when the evidence is “such that a reasonable jury could return a

verdict for the nonmoving party.” Id.

       III.    ANALYSIS

       A. Whether Defendants’ Capture the “Look and Feel” Description Associated With the
          Host Website (the “Capturing Step”)

       DDR’s infringement expert, Dr. Keller, opines that the capturing step is met in the

following way: “[t]he look and feel descriptions associated with the host website are the CSS

files captured by the visitor’s browser.” (Keller Report at App. 1, ¶ 28; see also Dkt. No. 402, at

11) (emphasis added.) Defendants contend that this theory, even accepted as true, precludes a


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finding of direct infringement because it relies on the website visitor, rather than the Defendant,

to perform the capturing step. (Dkt. No. 402, at 13.) According to Defendants, because the

website visitor’s computer is doing the retrieving, the Defendant is not the party obtaining the

CSS file. Id. Defendants argue that there can be no direct infringement of claim 8 if the website

visitor is a third-party that is not controlled or directed by the Defendant. Id.

       DDR responds that each of the Defendants is the sole infringer of the claims (and thus the

party that performs the capturing step), because each Defendants directs a website visitor’s

browser to perform the capturing step. (Dkt. No. 417, at 1.) According to DDR, under this

theory, Defendants perform the capturing step by “using the visitor’s browser like a tool”:

               Defendants use the visitor’s website browser like a tool. The
               Defendants’ servers send instructions to the visitor’s browser to
               force it to locate the CSS files on the Defendants’ servers and then
               send the CSS “look and feel” data to the browser. To make that
               step happen, the visitor does not need to do anything at all – the
               visitor does not need to configure his browser in a certain way,
               request the data in a CSS file, accept a download, agree to use a
               particular browser band, or do anything else. As an analogy,
               suppose Amanda borrowed Barry’s car to drive Barry to the
               doctor. Barry is sitting in his car and he’s going to the doctor, but
               we would never say that Barry drove himself to the doctor just
               because he owns the car. No, Amanda had complete control of the
               car, so we say that Amanda drove Barry to the doctor. That she
               doesn’t own the car and isn’t controlling Barry’s movements has
               nothing to do with whether she drove the car. Here, Defendants
               are “driving” the visitor’s browser to receive the data in the CSS
               files, and the website visitors are just along for the ride.

(Dkt. No. 466, at 3.)

       The Court is persuaded that there is a genuine dispute of material fact as to which party

(Defendants or the website visitor) performs the capturing step of claim 8 of the ‘135 patent.

Accepting DDR’s contention as true – that the Defendants’ servers force the visitor’s browser to

locate the CSS files – would support a finding that Defendants, and not the website visitors,



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perform the capturing step of claim 8. At a minimum it raises a fact question which precludes

summary judgment.

       Defendants’ arguments citing the Federal Circuit’s recent decision in Akamai ring

hollow. (Dkt. No. 443, at 3) (citing Akamai Tech. v. Limelight Networks, No. 2009-1372 et al,

2012 WL 3764695, *3 (Fed. Cir. Aug. 31, 2012.) The relevant question here is not (as in

Akamai) whether it is possible for two distinct and independent entities to jointly infringe a

method claim by performing different steps of the same claim (they cannot), but rather whether it

is the Defendants or the website visitor that actually performs the capturing step. This is a

question of disputed fact that should only be resolved by the trier of fact; in this case, the jury.

       B. Whether Defendants’ Practice the Steps of Claim 8 of the ‘135 Patent in the Order
          Required for Infringement

        Both parties agree that Claim 8’s step of “capturing the look and feel of the host

website” (the “capturing step”) must come before the step of “serving to the visitor computer an

e-commerce supported page with a look and feel corresponding to the captured look and feel

description” (the “serving step”). (Dkt. Nos. 402, at 16 and 417, at 7.) However, the parties

differ as to what it means for one step to come “before” another. Defendants contend that the

capturing step must be completed and finished before the serving step can begin. (Dkt. No. 402,

at 16.) DDR, on the other hand, responds that claim 8 is infringed so long as the capturing step

is completed before the serving step finishes. (Dkt. No. 417, at 7.) This would be the case even

where “capturing” is going on at the same time as “serving,” so long as the capturing step is

completed before the serving step is complete. The parties’ dispute arises from Dr. Keller’s

infringement report, which opines that “the capturing step need not precede beginning of the

serving step. Rather, the capturing step need only be completed prior to the completion of the

serving step in order for the captured look and feel description to be used to serve the page.”


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(Dkt. No. 466, Ex. A ¶ 46) (emphasis in original.) Ultimately, this is a “fundamental dispute

regarding the scope of a claim term,” and the Court has a duty to resolve the dispute. O2 Micro

Int’l Ltd. v. Beyond Innovation Tech. Co., Ltd., 521 F.3d 1351, 1362-62 (Fed. Cir. 2008).

       Defendants contend that their proposed construction (that the capturing step must be

completed before the serving step begins) is supported by the ‘135 Patent specification:

               The present invention is directed to an e-commerce outsourcing
               system and method that provides hosts with transparent, context
               sensitive e-commerce support pages. The look and feel of a target
               host is captured for future use. The look and feel is captured by
               receiving the identification of an example page on the target host,
               retrieving the page, identifying the look and feel elements of the
               identified page and storing the identified element.”

(Dkt. No. 402, at 18-19) (citing ‘135 Patent, at Abstract.) Defendants argue that the Summary of

the Invention further details the outsource provider’s intended future use of the captured “look

and feel”:

               According to the present invention, the look and feel of each
               participating Host is captured and stored. Hosts may include links
               to selected products or product categories within pages residing on
               the Hosts’ website … The look and feel elements … are stored for
               future use in generating outsourced transparent pages, pages served
               by a server other than the host…”

(Dkt. No. 402, at 19) (citing ‘135 patent, col. 3:16-21.) Defendants contend that the patent

specification clearly identifies that the purpose of capturing the “look and feel” of each host

website is to store the look and feel for the intended future use of serving the e-commerce page

with such look and feel. (Dkt. No. 442, at 8-9.) Further, Defendants point to the language of

claim 8 itself, which describes “serving … an e-commerce supported page with a look and feel

corresponding to the captured look and feel description of the host website.” (Dkt. No. 443.) At

its core, Defendants argument relies on the premise that the specification and the claims are




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limited to a process in which the “look and feel” is: (1) completely captured; (2) stored; and only

then (3) served at a later time.

        DDR responds that neither the claims, nor the specification, “say a single word requiring

such strict sequencing.” (Dkt. No. 455.) Rather, DDR contends that it would be possible to

infringe claim 8 if a Defendant “starts serving a page, captures the look and feel, then finishes

serving the page.” (Dkt. No. 466.) According to DDR, the critical inquiry with regard to the

timing of the steps is whether the capturing step finishes before the serving step finishes. Id.

DDR notes that Defendants’ non-infringement position relies heavily on importing the concept

of capturing and storing the look and feel for later use. However, it is significant that claim 8

does not refer to the term “storage” at all. (Dkt. No. 417, at 8.) Relying upon the concept of

claim differentiation, DDR argues that because the term “storage” is not included in claim 8, but

is found in claims 1 and 17, claim 8 necessarily has a broader scope than the Defendants’

proposal regarding “storage” and “capturing for future use.” (Dkt. No. 417, at 7-8.)

        The Court agrees with DDR. Claim 8 is not directed “storing” or “future use” and the

Defendants’ arguments regarding such concepts are an improper attempt to import limitations

into the claim. The plain language of claim 8 is this Court’s best guide, and it requires the page

that Defendants serve contain a look and feel that has been “captured” by the time the final page

is served. The Court therefore expressly REJECTS Defendants’ argument, as a matter of claim

construction, that the “capturing step” must be completed before the “serving step” begins.

Rather, the proper limit on the claims is that the “capturing step” must be completed before the

“serving step” is completed.       The “serving step” may begin prior to the beginning of the

“capturing step” and such is not a defense to infringement, so long as the “captured” look and

feel is complete prior to completion of the “serving step.” The claim language does not focus on



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when these steps begin but rather looks to when they end in relation to each other. As long as

the capturing step is completed before the serving step is finished claim 8 can be infringed

       IV.     CONCLUSION

        Having carefully considered the parties’ written submissions, the Court finds there are
      .
genuine disputes of material fact which must be decided by the jury and not the Court as to

whether or not the Defendants alone complete the capturing step. Further, the Court finds that

Defendants present a question of law as to the construction of claim 8, but their construction is in

error and does not support granting summary judgment in their favor. Accordingly, Defendants’

Motion for Partial Summary Judgment of Non-Infringement of Claim 8 of the ‘135 Patent is

DENIED.
       SIGNED this 19th day of December, 2011.
     So ORDERED and SIGNED this 28th day of September, 2012.




                                                            ____________________________________
                                                            RODNEY GILSTRAP
                                                            UNITED STATES DISTRICT JUDGE




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